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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                                CASE NO. 1:88-cr-01026-MP

CHARLES L DAVIS,

      Defendant.
___________________________/

                                          ORDER

       This matter is before the Court on Doc. 3490, the government’s Motion to Continue the

resentencing of Charles L Davis. The motion is granted, and resentencing is hereby reset for

July 9, 2008 at 10:30 a.m.


       DONE AND ORDERED this 24th day of June, 2008


                                      s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
